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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
AMARILLO DIVISION
GWENDOLYN DOLORES ROGERS
PATRICK, Individually and on Behalf of the
Estate of ALTON ROGERS, Deceased,

PLAINTIFFS,

VS. CIVIL ACTION CAUSE NUMBER

BARRY MARTIN, e¢ al., 2:16-CV-216-J

DEFENDANTS.

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ORDER GRANTING IN PART MOTION TO MODIFY DEADLINES
Before the Court is the joint motion, filed January 10,2017, wherein the parties request the Court
modify the original Rule 16 scheduling order’s deadlines so as to allow extra time for serve nine (9)
potential defendants who have not yet been served with process. This motion is granted in part as
follows. All Rule 16 deadlines are hereby extended by thirty (30) days. Counsel are ordered to
immediately begin written discovery in this case. Because this case properly raises immunity issues,
counsel are to direct initial discovery towards issues related to a defendant’s entitlement to qualified

immunity from suit, or lack thereof.

It is SO ORDERED.

Signed this the / f t day of January, 2017.
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MARY LOU JOBINSON
SENIOR UNITED STATES DISTRICT JUDGE
